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9

10                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                 SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,             CR 20-069 WHA
14                      PLAINTIFF,
                                           DEFENDANT’S SENTENCING MEMORANDUM
15                  V.

16                                         HONORABLE WILLIAM ALSUP
     DARWIN VILLATORO,                     DATE: SEPT. 1, 2020
17                          DEFENDANT.     TIME: 11:00 A.M.
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1       1. INTRODUCTION
2           Darwin Villatoro grew up in abject poverty, in a small village in Honduras. He came to
3    the United States in search of a better life, but that proved impossible for an illiterate young man
4    with a third grade education, who did not speak English. Instead, Mr. Villatoro found himself
5    living with friends, addicted to drugs, and, ultimately, selling drugs to finance his addiction. Now
6    Mr. Villatoro has been swept up in the government’s Tenderloin “initiative.” He is charged with
7    three federal felonies as a result of his street-level drug dealing in the Tenderloin neighborhood
8    of San Francisco. Mr. Villatoro intends to plead guilty to all three charges on September 1, 2020.
9    Based on Mr. Villatoro’s background, his addiction, and the devastating collateral consequences
10   he faces, a sentence of one year and one day in custody would serve the goals of 18 U.S.C. §
11   3553(a) with regard to Mr. Villatoro.
12      2. A SENTENCE OF ONE YEAR AND ONE DAY IN CUSTODY WOULD BE SUFFICIENT, BUT NOT
           GREATER THAN NECESSARY, TO SATISFY THE GOALS OF 18 U.S.C. § 3552(A)
13
            In determining an appropriate sentence, the court must look to the factors set forth in 18
14
     U.S.C. § 3553, among them the applicable sentencing guideline calculation. United States v.
15
     Booker, 543 U.S. 220, 245-46 (2005); United States v. Autery, 555 F.3d 864, 872 (9th Cir. 2009);
16
     United States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008). The Court’s paramount concern must be
17
     to “‘impose a sentence sufficient, but not greater than necessary’ to reflect the seriousness of the
18
     offense, promote respect for the law, and provide just punishment; to afford adequate
19
     deterrence; to protect the public; and to provide the defendant with needed educational or
20
     vocational training, medical care, or other correctional treatment.” Carty, 520 F.3d at 991.
21
     Application of the factors listed in Section 3553(a) to this case supports imposition of the
22
     mandatory minimum sentence of one year, plus one day in custody.
23
             2.1 The History and Characteristics of the Defendant (18 U.S.C. § 3553(a)(1))
24
            Mr. Villatoro was orphaned at two months old. An aunt and uncle took him in and Mr.
25
     Villatoro grew up with their four children. The entire family lived in a three-room shack without
26
     running water. Mr. Villatoro’s aunt and uncle were kind, hard-working people, but life was very
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1    hard. They could not afford shoes or proper clothing and the family had to spend hours every
2    day just attending to basic human needs. Water had to be fetched from the river. In order to
3    bring his uncle lunch in the fields where he worked, Mr. Villatoro spent two hours a day walking
4    there and back, barefoot. PSR ¶¶47-52.
5              Mr. Villatoro started working at the age of seven, waking up at 3:00 a.m. to work in the
6    fields until 1:00 in the afternoon. He wanted to go to school but the two-hour daily trek to his
7    uncle’s job site made it impossible and he stopped going after three years. Mr. Villatoro still
8    cannot read or write. Id. He worked in the fields every day until he left Honduras in search of a
9    better life in this country. Mr. Villatoro’s history and characteristics thus warrant the variance he
10   is requesting. See 18 U.S.C. § 3553(a)(1).
11             2.2 The Nature and Circumstances of the Offense (18 U.S.C. § 3553(a)(1))
12             The nature and circumstances of this offense similarly support a variance from the
13   advisory guideline range. See 18 U.S.C. § 3553(a)(1). Whether caused by gangs, an ineffective
14   government, drug trafficking, or poverty, Honduras currently claims the title of “murder capital
15   of the world.” 1 The government is blatantly corrupt and has lost international support because of
16   allegations of human rights abuse. 2 There are also allegations of gang infiltration of Honduras’
17   police force. 3 “According to the State Department, 42 percent of all cocaine headed to the U.S.
18   and 90 percent of all cocaine flights now travel through Honduras.” 4 Like others before him, Mr.
19   Villatoro made the perilous, illegal journey to the United States in search of a future free of
20   corruption, gang violence, and poverty.
21

22   1
      United States Department of State Bureau of Diplomatic Security. Honduras 2018 Crimes and
23   Safety Report, (April 3, 2018). Accessed at:
     https://www.osac.gov/Pages/ContentReportDetails.aspx?cid=23798
24   2
      Khan, Carrie, “Honduras Claims Unwanted Title of World's Murder Capital” Parallels (June
25   12, 2013). Accessed at: https://www.npr.org/sections/parallels/2013/06/13/190683502/honduras-
     claimsunwanted-title-of-worlds-murder-capital.
26   3
         Id.
27
     4
         Id.

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1           In the United States, however, Mr. Villatoro was lost. Because he speaks no English and is
2    illiterate, he had trouble finding work. His experimentation with narcotics turned into full-
3    blown dependence and he ended up selling drugs to support himself and his addiction. PSR ¶ 67.
4    Darwin Villatoro is not a drug kingpin. He was a desperate, illiterate drug addict who sold drugs
5    to other addicts in order to finance his own addiction.
6            2.3 The Need for the Sentence Imposed To Promote Respect for Law, Provide Just
7                Punishment, and Afford Adequate Deterrence (18 U.S.C. § 3553(a)(2))

8           A sentence of one year and one day in custody is just and will promote respect for the law

9    because it is long enough to afford both specific and general deterrence. Mr. Villatoro only has

10   two prior convictions, for which he was sentenced to 110 days (concurrent for both cases). He

11   will have already been in custody twice that long when he appears in court to plead guilty. He

12   understands that he cannot reoffend.

13          More importantly, Mr. Villatoro is almost certainly going to be deported after he serves

14   his sentence. A term in custody three times longer than his longest (and only) prior sentence,

15   followed by deportation to Honduras sends a strong message to both Mr. Villatoro and the

16   general public that selling drugs has serious consequences.

17           2.4 The Need for the Sentence Imposed To Protect the Public from Further Crimes
                 of the Defendant (18 U.S.C. § 3553(a)(2))
18
            Mr. Villatoro will likely be deported following the conclusion of his sentence. He plans to
19
     return to his village, start a family and work hard to support them. PSR ¶ 58. He has a minimal
20
     criminal record with no history or violence or weapons offenses. A prison term longer than one
21
     year and one day is not necessary to protect the public from Mr. Villatoro.
22
             2.5 The Need for the Sentence Imposed To Provide the Defendant with Needed
23               Educational or Vocational Training, Medical Care, or Other Correctional
24               Treatment in the Most Effective Manner (18 U.S.C. § 3553(a)(2))
            Today, any sentence longer that the mandatory minimum necessarily subjects Mr.
25
     Villatoro to an increased risk of contracting a deadly virus. The Court is well aware of the nature
26
     and scope of the coronavirus pandemic. Within the correctional system, the situation is
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1    especially dire. Prisons and jails, which lack proper sanitation and means to accomplish social
2    distancing, are tinderboxes. For example, the rate of infection on Rikers Island is over seven
3    times the rate of infection in New York City at large. 5 The CDC has recognized that
4    “Correctional and detention facilities face challenges in controlling the spread of infectious
5    diseases because of crowded, shared environments and potential introductions by staff members
6    and new intakes.” 6
7            Bureau of Prisons facilities where COVID-19 has been detected have developed
8    epidemics alarmingly quickly and continue to spiral. For example, on March 26, 2020, the first
9    person in the city of Lompoc tested positive for coronavirus. 7 By May 18, over 900 inmates and
10   17 staff members at FCI Lompoc were infected. 8 The skyrocketing and devastating numbers at
11   FCI Terminal Island reveal a similarly dramatic and deadly explosion. As of June 8, 2020, 700
12   inmates and 16 staff members had been infected, and there has been a staggering nine deaths
13   already. Id. Overall in the Bureau of Prisons system, over 10,000 federal inmates and 1,000 BOP
14   staff have been infected, with 98 federal inmate deaths and one staff member death. The fact that
15   staff members have largely recovered while inmates are dying at such an alarming rate is a clear
16   indication of the BOP’s inability to adequately care for infected individuals within the system.
17           The pandemic also makes time served much more difficult. People incarcerated at Santa
18   Rita Jail and in BOP facilities live in constant fear of being subjected to a guard or a new person
19   transferred into their facility who gives them this deadly disease under circumstances where they
20
     5
       Asher Stockler, More than 700 people have tested positive for coronavirus on Rikers Island,
21
     including over 440 staff, NEWSWEEK (April 8, 2020), found at https://www.newsweek.com/rikers-
22   island-covid-19-new-york-city-1496872
23
     6
       COVID-19 in Correctional and Detention Facilities — United States, February–April 2020,
     CENTERS FOR DISEASE CONTROL AND PREVENTION, MORBIDITY AND MORTALITY WEEKLY REPORT
24   (May 6, 2020), found at https://www.cdc.gov/mmwr/volumes/69/wr/mm6919e1.htm
25
     7
       Willis Jacobson, Lompoc patient tests positive for COVID-19; first confirmed case in city (March
     26, 2020), https://lompocrecord.com/news/local/lompoc-patient-tests-positive-for-covid-19-
26   first-confirmed-case-in-city/article_2c850540-0735-5616-b615-c674e4c146ea.html.
27
     8
       https://www.bop.gov/coronavirus/

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1    are absolutely incapable of taking steps to avoid it. There are no drug or vocational programs
2    and visiting has been suspended. In this context, a sentence of one year and one day in custody
3    will suffice to punish Mr. Villatoro for the crime he committed; no legitimate goal of sentencing
4    is advanced by increasing the risk to Mr. Villatoro’s physical health by subjecting him to a
5    lengthy term of incarceration.
6            2.6 The Sentencing Range Established for the Applicable Category of Offense
7                Committed by the Applicable Category of Defendant as Set Forth in the
                 Guidelines (18 U.S.C. § 3553(a)(4))
8
             Mr. Villatoro is in criminal history category III and his total offense level is 21. Based on
9
     the combined amount of narcotics Mr. Villatoro possessed during the four days at issue, his
10
     offense level is 24. 9 U.S.S.G. § 2D1.1. Three levels should be subtracted because Mr. Villatoro
11
     intends to accept responsibility for his conduct by pleading guilty. U.S.S.G. § 3E1.1. The
12
     resulting advisory Guideline range is 46-57 months.
13
             Mr. Villatoro joins the government in objecting to the imposition of a two-level
14
     enhancement pursuant to Guideline § 2D1.1(b)(14)(B). Because Mr. Villatoro was not in
15
     possession of methamphetamine on October 26, 2019, that enhancement is inapplicable.
16
             Probation has already recommended a 33-month downward variance based on Mr.
17
     Villatoro’s history and the circumstances of this case. Application of that variance to the correct
18
     adjusted offense level would result in a sentence of 13 months. For the reasons articulated above,
19
     Mr. Villatoro submits that a variance of only one additional month, to a sentence of one year and
20
     one day in custody, is appropriate here.
21
             2.7 Unwarranted Sentencing Disparity
22
             While the requested sentence represents a variance from the guideline range, the variance
23
     is warranted in light of Mr. Villatoro’s conduct and history, as well as the additional time he will
24
     spend in immigration custody prior to his deportation. Additionally, the sentence is in accord
25

26   9
      Mr. Villatoro has notified both the government and probation that he withdraws his previous
27   objection to the PSR.

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1    with similarly situated defendants engaged in similar conduct swept up in the Tenderloin
2    initiative.
3        3. CONCLUSION
4            Darwin Villatoro is going to pay for the crimes he committed, first by a term in prison
5    under exceptionally difficult and danger circumstances, then by immigration custody and,
6    ultimately, deportation. One year and one day in custody is sufficient, but not greater than
7    necessary, to serve the goals of 18 U.S.C. § 3553(a) in this case.
8    Dated: August 25, 2020
9                                                               Respectfully submitted,

10                                                              STEVEN G. KALAR
11                                                              Federal Public Defender

12                                                                 /S/
13                                                              ELLEN V. LEONIDA
                                                                Assistant Federal Public Defender
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